        Case 1:17-cv-01669-VSB Document 76 Filed 05/02/19 Page 1 of 10




                              17-cv-01669 (DAB)
                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

                              JOANNA TULCZYNSKA,

                                                                             Plaintiff,

                                                     -against-

                              QUEENS HOSPITAL CENTER, MOUNT SINAI
                              HEALTH SYSTEM, INC., PRUDENTIAL INSURANCE
                              COMPANY OF AMERICA, DR. RICARDO LOPEZ
                              M.D., DR. JEAN FLEISHMAN, M.D., DR. HABIBUR
                              RAHMAN, M.D.

                                                                          Defendants.


                              MEMORANDUM OF LAW IN OPPOSITION TO
                              PLAINTIFF’S  MOTION FOR    PARTIAL
                              RECONSIDERATION


                                             ZACHARY W. CARTER
                                    Corporation Counsel of the City of New York
                                          Attorney for Hospital Defendants
                                          100 Church Street, Room 2-184
                                          New York, New York 10007

                                           Of Counsel: Evan M. Piercey
                                           Tel: (212) 356-2428
                                           Matter No.: 2017-006280




Donald C. Sullivan,
Evan M. Piercey,
Of Counsel.
            Case 1:17-cv-01669-VSB Document 76 Filed 05/02/19 Page 2 of 10



                                                  TABLE OF CONTENTS

                                                                                                                                    Page

TABLE OF AUTHORITIES .......................................................................................................... ii

PRELIMINARY STATEMENT .................................................................................................... 1

ARGUMENT

                     Plaintiff Fails to Set Forth Any Grounds For This Court to
                     Reconsider its Decision........................................................................................... 3

CONCLUSION ............................................................................................................................... 7
             Case 1:17-cv-01669-VSB Document 76 Filed 05/02/19 Page 3 of 10



                                                  TABLE OF AUTHORITIES

Cases                                                                                                                                    Pages

Analytical Surveys, Inc. v. Tonga Partners, L.P.,
   684 F.3d 36 (2d Cir. 2012).....................................................................................................3, 5

Cedar Petrochemicals, Inc. v. Dongbu Hannong Chem. Co.,
   628 Fed. Appx. 793 (2d Cir. 2015) ............................................................................................3

Lawrence v. Florida,
   549 U.S. 327, 127 S. Ct. 1079, 166 L. Ed. 2d 924 (2007) .........................................................5

Sequa Corp. v. Gbj Corp.,
   156 F.3d 136 (2d Cir. 1998).......................................................................................................3

Shrader v. CSX Transp., Inc.,
   70 F.3d 255 (2d Cir. 1995).........................................................................................................3

Simon v. Smith & Nephew, Inc.,
   18 F. Supp. 3d 423 (S.D.N.Y. 2014)..................................................................................3, 4, 6

Viti v Guardian Life Ins. Co. of Am.,
    817 F Supp 2d 214 (S.D.N.Y. August 31, 2011) ...................................................................5, 6

Zerilli-Edelglass v. New York City Transit Auth.,
   333 F.3d 74 (2d Cir. 2003).........................................................................................................6

Statutes

FRCP 59 .......................................................................................................................................3, 5




                                                                        ii
          Case 1:17-cv-01669-VSB Document 76 Filed 05/02/19 Page 4 of 10



                                PRELIMINARY STATEMENT

               Plaintiff Joanna Tulczynska (“Plaintiff”), a former doctor of pulmonology, claims

that Queens Hospital Center, Mount Sinai Health System, Inc., Dr. Ricardo Lopez, Dr. Jean

Fleishman, and Dr. Habibur Rahman (collectively “Hospital Defendants”) breached their

fiduciary duties to Plaintiff in violation of ERISA, and discriminated against Plaintiff on the

basis of her alleged disability (Parkinson’s Disease) in violation of the New York State and City

Human Rights Laws (“SHRL” and “CHRL” respectively) under multiple theories: (1) that she

was denied a promotion to Chief of Pulmonology, which Dr. Lopez received; (2) that plaintiff

failed to receive reasonable accommodation; (3) that she was wrongfully terminated; and, (4)

was subjected to a hostile work environment.

               On September 7, 2018, Hospital Defendants filed a motion to dismiss the

Amended Complaint on the bases that: (1) Hospital Defendants did, in fact, enroll Plaintiff in

the plan she wanted, and did not violate ERISA, and (2) Plaintiff’s SHRL and CHRL claims

were time barred because Plaintiff had not been an active employee since December 2013; and

(3) Plaintiff’s claims necessarily fail because, by her own admission, she was not able to work

since December 2013 and, (4) regardless, the factual allegations failed to state a claim for a

hostile work environment. See Dkt. Nos. 48-49. Plaintiff, in her opposition to Defendants’

motion to dismiss the Amended Complaint argued that Hospital Defendants’ documentary

evidence should not be considered because it was purportedly “unauthenticated” and that the

doctrine of equitable tolling should apply to her untimely SHRL and CHRL claims. See Dkt.

No. 53.    In Hospital Defendants’ reply (Dkt. No. 63), we addressed Plaintiff’s arguments,

notably, arguments with respect to equitable tolling and authenticity.
         Case 1:17-cv-01669-VSB Document 76 Filed 05/02/19 Page 5 of 10



               By Memorandum and Order dated February 12, 2019, the Court dismissed

Plaintiff’s claims in their entirety. Specifically, and most relevant to the instant motion for

reconsideration, the Court thoroughly analyzed and considered the issue of authenticity and

timeliness, first determining that a majority of the documents offered by Hospital Defendants

were proper to attach to the motion, writing specifically “[t]his court is not required to accept

Plaintiff’s strategic choice to omit several documents and facts, the effect of which is to create a

misleading impression of the factual basis underlying her claim.” See Dkt. No. 68 at 13. The

Court also addressed the timeliness of Plaintiff’s claims, ruling that her SHRL and CHRL claims

were both untimely in their entirety. Id. at 13-14.

               Plaintiff now seeks reconsideration of that portion of the Court’s February 12,

2019 Memorandum and Order addressed the timeliness of her SHRL and CHRL claims.

Specifically, Plaintiff seeks partial reconsideration solely on the basis that this Court purportedly

“overlooked the equitable tolling argument” previously made by Plaintiff in her Opposition to

Hospital Defendants’ motion to dismiss.        See Plaintiff’s Motion for Reconsideration (“Pl.

MOL”), Dkt. No. 72 at 1 (emphasis added). It should be noted that Plaintiff is only seeking

reconsideration with respect to the CHRL and SHRL claims, and does not challenge – or even

reference – the Court’s decision with respect to her ERISA allegations. While Plaintiff does not

appear to be seeking reconsideration of the Court’s decision to accept documents annexed to

Hospital Defendants’ motion to dismiss, she nevertheless continues to contend, in conclusory

fashion, that Defendants relied on unauthenticated documents, plaintiff offers no supporting

authority for that argument, and continues to ignore the Court’s Decision that most of the

challenged documents were signed by her or her doctor.




                                                 2
         Case 1:17-cv-01669-VSB Document 76 Filed 05/02/19 Page 6 of 10



               In sum, Plaintiff’s motion for reconsideration improperly seeks to rehash the

tolling argument that she admittedly made in her Opposition, and, as such, fails as a matter of

law to establish any of the required grounds for this Court to reconsider its decision.

Accordingly, Plaintiff’s motion for reconsideration should be denied in its entirety.

                                          ARGUMENT

       Plaintiff Fails to Set Forth Any Grounds For This Court to Reconsider its Decision

               “The standard for granting [a motion for reconsideration] is strict, and

reconsideration will generally be denied unless the moving party can point to controlling

decisions or data that the court overlooked – matters, in other words, that might reasonably be

expected to alter the conclusion reached by the Court.” Cedar Petrochemicals, Inc. v. Dongbu

Hannong Chem. Co., 628 Fed. Appx. 793, 796 (2d Cir. 2015) (summary order) (quoting Shrader

v. CSX Transp., Inc., 70 F.3d 255, 257 (2d Cir. 1995). “It is well-settled that Rule 59 is not a

vehicle for relitigating old issues, presenting the case under new theories, securing a rehearing on

the merits, or otherwise taking a ‘second bite at the apple’….” Analytical Surveys, Inc. v. Tonga

Partners, L.P., 684 F.3d 36, 52 (2d Cir. 2012) (quoting Sequa Corp. v. Gbj Corp., 156 F.3d 136

(2d Cir. 1998)). Furthermore, a motion for reconsideration is not an opportunity for the moving

party to “repeat[] old arguments previously rejected” nor is it an opportunity to make new

arguments that previously could have been made. Simon v. Smith & Nephew, Inc., 18 F. Supp.

3d 423, 425 (S.D.N.Y. 2014).

               Here, Plaintiff fails to raise any controlling decisions or data that the Court

overlooked. See generally Pl. MOL. Notable, Plaintiff ignores parts of the Court’s decision that

are inconvenient for her. See, e.g., Memorandum and Opinion Dkt. No. 68, at 13 (noting that

plaintiff “does not acknowledge the fact that most of the [purportedly unauthenticated]

documents [cited by Hospital defendants] are signed by her or her doctor”), 14 (holding that

                                                 3
         Case 1:17-cv-01669-VSB Document 76 Filed 05/02/19 Page 7 of 10



plaintiff “could not have been wrongfully denied a promotion to Chief of Pulmonology in 2014,

since the position was already filled” by then), 15 (holding that “[p]laintiff’s argument that she

was ‘forced to retire early’ on November 28, 2014 due to alleged hostile conduct at work is

refuted by the documentary evidence produced by Hospital Defendants that she elected to take

FMLA leave on December 3, 2013, never returned to work due to her worsening condition, and

went on long-term disability (and was therefore terminated) on June 4, 2014”). Plaintiff’s only

supposed response to the Court’s well-founded conclusion that documents refute her proffered

timeline is to declare that she “never intended to misrepresent the dates” and “earnestly believed”

that the events she alleged happened later than the documents showed. See Pl. MOL, at 6.

               Instead of addressing these weaknesses, Plaintiff effectively admits that she is

merely raising the same equitable tolling argument that was considered and rejected by the

Court, when Plaintiff originally presented it in her Opposition to Hospital Defendants’ motion to

dismiss the amended complaint.        Compare Pl. MOL at 2-6 with Plaintiff’s Opposition

Memorandum of Law, Dkt. No. 53 at 22-27. Indeed, the crux of Plaintiff’s argument in her

Opposition – and now again on reconsideration – is that equitable tolling should apply because

the deterioration of her cognitive ability due to her alleged Parkinson’s disease rendered her

unable to apprise herself of her legal rights and resulted in a misapprehension of when alleged

events occurred. Compare Pl. Opp., Dkt. No. 53 at 26 with Pl. MOL at 5-6. Notwithstanding

the fact that this represents a textbook improper attempt by Plaintiff to “repeat…old arguments

previously rejected” (Simon, 18 F. Supp. 3d at 425), it nonetheless still fails as a matter of law

for the reasons asserted by Hospital Defendants’ in their Reply Memorandum of Law in Further

Support of their Motion to Dismiss. See Dkt. No. 63 at 10-13.




                                                4
        Case 1:17-cv-01669-VSB Document 76 Filed 05/02/19 Page 8 of 10



              To briefly reiterate, this argument is unavailing because of its mystifying position,

namely, that Plaintiff wants this Court to simultaneously believe that she was “fully and

competently performing her duties as a doctor of pulmonology,” but was nonetheless unable to

comprehend in any manner that she was suffering alleged discrimination. See Pl. MOL at 6

(emphasis supplied).    This position is untenable.     The Court, appropriately, rejected this

argument in the February 12, 2019 Decision. See Decision, at 14-15 (holding that plaintiff’s

SHRL and CHRL claims are time-barred). Plaintiff offers no reason why the Court should

reconsider its decision and simply accept the same argument by plaintiff that was already

considered and rejected. Indeed, as Hospital Defendants’ asserted in Reply, this position is made

all the more preposterous given that Plaintiff claimed in Opposition that her condition had

worsened since 2013, begging the question that how could Plaintiff have possibly apprised

herself of her legal rights in 2017, but not 2013, 2014, or earlier? See Defs’ Reply MOL, Dkt.

No. 63 at 12. In short, Plaintiff’s motion for reconsideration unambiguously represents an

improper use of Rule 59 to try to take a “second bite at the apple,” and should not be

countenanced by this Court. Analytical Surveys, Inc, 684 F.3d at 52.

              Finally, while Plaintiff’s argument on the merits ought not be considered because

it represents an improper attempt to rehash virtually identical arguments made in her Opposition

to Defendants’ motion to dismiss, it only bears repeating that her arguments fail as a matter of

law. To warrant equitable tolling, a plaintiff must demonstrate “(1) that [s]he has been pursuing

his rights diligently, and (2) that some extraordinary circumstance stood in h[er] way and

prevented timely filing.” See Viti v Guardian Life Ins. Co. of Am., 817 F Supp 2d 214, 227

(S.D.N.Y. August 31, 2011) (citing Lawrence v. Florida, 549 U.S. 327, 336, 127 S. Ct. 1079,

166 L. Ed. 2d 924 (2007) (quotations omitted). “[E]quitable tolling is only appropriate in rare



                                                5
          Case 1:17-cv-01669-VSB Document 76 Filed 05/02/19 Page 9 of 10



and exceptional circumstances in which a party is prevented in some extraordinary way from

exercising his [or her] rights.” Viti, 917 F. Supp. 2d at 227 (quoting Zerilli-Edelglass v. New

York City Transit Auth., 333 F.3d 74, 80 (2d Cir. 2003) (internal quotations omitted).

               Not only has Plaintiff failed to set forth any facts or any arguments that were

genuinely overlooked by this Court, she nonetheless fails to set forth grounds to apply equitable

tolling. Just as she did in Opposition, Plaintiff once again fails to supply any evidence that she

was “pursuing her rights diligently” during the applicable limitations period – a step she

acknowledges is required. See Pl. MOL at 4-6; see also Plaintiff’s Opposition, Dkt. No. 53 at

25. Moreover, Plaintiff presents zero new facts not previously available to her to satisfy the high

standard of demonstrating that she was “so utterly disabled as to be effectively incapable of

protecting [her] rights,” which is what she would have to show to prevail here. See Viti, 817 F.

Supp. 2d 214 at 230 (“The court does not doubt that [plaintiff] was and remains mentally ill or

unable to work. But that is not the issue where equitable tolling is concerned”). See generally Pl.

MOL. In short, the same reasons in Defendants’ reply memorandum of law that rebutted

Plaintiff’s first attempt to apply equitable tolling rebut her virtually identical arguments set forth

in the instant motion for reconsideration.        Compare Pl. MOL, generally and Plaintiff’s

Opposition, Dkt. No. 53 with Defendants’ Reply Memorandum of Law, Dkt. No. 63, at 11-13.

Thus, while the Court need not even consider the merits of Plaintiff’s arguments, as she has

failed to set forth adequate grounds for reconsideration, even if the Court were to do so, she

nonetheless fails to establish grounds for equitable tolling.

               In sum, Plaintiff’s attempt at obtaining reconsideration by “repeat[ing] old

arguments previously rejected” is plainly improper and should be rejected. Simon, 18 F. Supp.

3d 425.



                                                  6
         Case 1:17-cv-01669-VSB Document 76 Filed 05/02/19 Page 10 of 10



                                       CONCLUSION

              For all of the foregoing reasons, the Court should deny Plaintiff’s motion for

reconsideration should be denied and grant Hospital Defendants any such other and further relief

as the Court deems just and proper.

Dated:        New York, New York
              May 2, 2019

                                            ZACHARY W. CARTER
                                            Corporation Counsel of the
                                            City of New York
                                            Attorney for Hospital Defendants
                                            100 Church Street, Room 2-184
                                            New York, New York 10007
                                            (212) 356-2428

                                            By:                  /s/
                                                   Evan M. Piercey
                                                   Assistant Corporation Counsel




                                               7
